Case 1:11-cv-00559-WMS Document 19-3 Filed 07/26/11 Page 1 of 8

6 May 2011

Robert M. Graber

Clerk, Erie County Legislature
92 Franklin Street

4" Floor

Buffalo, NY 14262

Dear Mr. Graber,

Attached you will find a proposal for new legislative districts for Erie County, NY. On the process of
creating these new districts, | have attempted to maintain the boundaries of current (pre-2011-2012)
legislative districts. But with the requirements that there be eleven (11) districts instead of the current
fifteen (15), four (4) districts have been dissolved into existing or new districts and renamed as such.
Because of the decrease in the number of districts, several of the old districts saw a growth in
population and area sizes. The primary method of district delineation was to maintain equal population
counts and to follow standard census tract and/or municipality lines. After delineating new boundaries,
the average population count for all the districts is 83,549 peopte. | also looked at ethnic population
distribution around the county and focused creating or expanding districts that included similar ethnic
backgrounds. These tended to be the ethnic majority of a district, usually either Caucasians or African-

Americans,

Attached you will find a 24”x36” map of proposed legislative districts, a spreadsheet containing district
totals and ethnic breakdown, and a copy of this email all contained within a zip file.

Sincerely,
Ryan Cassens, Amherst, NY
11-cv-00559-WMS .Document 19-3 Filed 07/26/11 Page 2 of 8

Case 1

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Case 1:11-cv-00559-WMS Document 19-3 Filed 07/26/11 Page 3 of 8

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Case 1:11-cv-00559-WMS Document 19-3 Filed 07/26/11 Page 4 of 8

posed District
Total Population of Erie County 919,034

District with Highest Population: Dist. #3 with population of 85,757
District with Lowest Population: Dist. #10 with population of 80,646
Percent of Highest Population (of total pop) 9.33%

Percent of Lowest Population (of total pop) 8.78%

Percent Deviation 0.56%

Case 1:11-cv-00559-WMS Document 19-3 Filed 07/26/11 Page 5 of 8

63% # Totals: 52,270

Black or African American 27% 22,487

American Indian and Alaska Native 1% - 337

Asian 3% 2,526

Native Hawaiian and other Pacific Islander 0% 24
Hispanic or Latino 4% 3,559

Other 2% 1,945

Total 100% 83,148

White - 96% # Totals: 78,778

Black or African American 1% 422

American Indian and Alaska Native 1% - A866

Asian 0% 333
Native Hawaiian and other Pacific Islander 0% 8
Hispanic or Latino 2% . 1,488

Other 1% 685

Total 100% 82,200

White 23% # Totals: 19,972

Black or African American 69% 58,882

American indian and Alaska Native 0% 277

Asian 2% 1,589

Native Hawaiian and other Pacific Islander 0% 16
Hispanic or Latino A% 3,228

Other - 2% 1,793

Total 100% 85,757
Case 1:11-cv-00559-WMS Document 19-3 Filed 07/26/11 Page 6 of 8

White 94% # Totals: 79,804

Black or African American 2% 1,732

American Indian and Alaska Native 0% 243

Asian 1% 803

Native Hawaiian and other Pacific Islander 0% 7
Hispanic or Latino 1% 1,231

Other 1% 751

Toiai 100% . 84,571

White 78% # Totals: 65,069

Black or African American 10% 8,373

American Indian and Alaska Native 0% 167

Asian =o 7% 5,661

Native Hawaiian and other Pacific Isiander 0% 12
Hispanic or Latino 3% 2,421

Other 2% 1,666

Total 100% 83,369

ite 49% # Totals: 41,598

Black or African American 20% 17,440

American indian and Alaska Native 1% 870

Asian 5% 4,422

Native Hawaiian and other Pacific Islander 0% 36
Hispanic or Latino 22% 18,579

Other 3% 2,544

Total 100% 85,489

Case 1:11-cv-00559-WMS Document 19-3 Filed 07/26/11 Page 7 of 8

d
White 88% # Totals: 71,601
Black or African American 3% . 2,339
American Indian and Alaska Native 0% 112
Asian 6% 5,074
Native Hawaiian and other Pacific islander 0% 20
Hispanic or Latino 2% 1,459
Other 1% 1,083
Total 100% 81,688

ae .
White 89% # Totals: 75,875
Black or African American 3% 2,799
American Indian and Alaska Native 0% 320
Asian 1% 934
Native Hawaiian and other Pacific Islander 0% 11
Hispanic or Latino 4% 3,768
Other 1% 1,177

Total 100% 84,834

92% # Totals: 76,845

Black or African American 3% - 2,381

American Indian and Alaska Native 0% 207

Asian 1% 524

Native Hawaiian and other Pacific Islander 0% 14
Hispanic or Latino 3% 2,743

Other 1% 1,047

Total 100% 83,761
Case 1:11-cv-00559-WMS Document 19-3 Filed 07/26/11 Page 8 of 8

White 93% # Totals: 74,825

Black or African American 2% "1,662

American Indian and Alaska Native _ 0% 303

Asian 1% 1,164

Native Hawaiian and other Pacific isfander 0% 5
Hispanic or Latino 2% 1,798

Other 1% 889

Total 100% 80,646

White 93% # Totals: 77,519

Black or African American 2% 1,399

American Indian and Alaska Native . 2% 1,877

Asian 1% 591

Native Hawaiian and other Pacific Islander 0% 12
Hispanic or Latino 2% 1,457

Other 1% 672

Total 100% 83,527
